  Case: 1:17-cv-09249 Document #: 1 Filed: 12/22/17 Page 1 of 11 PageID #:1




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                                          17cvg2,,N)
 G.urNN   RTCkER\                  )      Judge Shafi
                                          Mag. Judge Kim
                   Pr."int'rff,,          PCl
v.                                 l   CaSe No.
TERRY    cARLSoN, l COMPLAINT
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      grrvoRVILLAGE-
         A Municipal Corporation, Plaintiff,
                                                                                                                                    GEN. NO.
                                             VS

                                                                                                                                THE CIRCT'IT COURT TOR
                                                                                                                                SIXTEENTH JUDICIAL CIRCUIT
                                                                                                                               KANE COUNTY,ILLINOIS

              //50 E                               : f,/d//,/,rLll                                                                       COMPIJIINT


                                                                                                              The within namcd complain*r ,ar.d on$,
                                                                                                          oaththat on or about the date setfonh herein, in said
                                                                                                          County, the defendant committed lhe offense set
                                                                                                          forth herein, in violation ofthe Chapter and Section
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                                                                                                          of the City or Villagc, set forth hcrein, in that said
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                        Case: 1:17-cv-09249 Document #: 1 Filed: 12/22/17 Page 8 of 11 PageID #:8
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                    IN THE CIRCTIIT COURT OF TI{E SIXTEENTH JUD ICIALCIRCUIT
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                                      KANE COIINTY,ILLINOIS
                                                                                                                         Case No.                                                            fi

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           PlaintiffAtty.     I     Dcfcnsc Atty,          E     Orher


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  $       Defendant is present via Clos€d Circuir TV (CCTV)                                          p.babsentia         cxplained (IAE)
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  I       Intcprctcr prcscnt (INTPR)                                                                 !      Dcfcndant rcmandcd for CCTV appcarancc (ORCTV)
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           El   On Motion of Dcftnd8lrt (MDEFN)                                !         rury triat
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              Case: 1:17-cv-09249 Document #: 1 Filed: 12/22/17 Page 9 of 11 PageID #:9
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